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8
                          UNITED STATES DISTRICT COURT
9                        EASTERN DISTRICT OF WASHINGTON

10        STATE OF WASHINGTON,                           NO.

11                            Plaintiff,                 COMPLAINT FOR
                                                         DECLARATORY RELIEF,
12                  v.                                   INJUNCTIVE RELIEF, AND
                                                         DAMAGES
13        CITY OF SUNNYSIDE,

14                            Defendant.

15

16                                 I.      INTRODUCTION

17      1.1   The State of Washington (the State) brings this civil action as parens

18      patriae against the City of Sunnyside (Sunnyside) for declaratory and injunctive

19      relief, and for damages to redress Sunnyside’s policy or practice of evicting

20      residents without due process in violation of federal and state law.

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1                                        II.     PARTIES

2       2.1   Plaintiff is the State of Washington. The Attorney General is authorized to

3       commence this action pursuant to Wash. Rev. Code § 43.10.030(1).

4       2.2   Plaintiff Washington has quasi-sovereign interests in protecting the health,

5       safety and well-being of its residents, and in ensuring that its residents are not

6       excluded from the benefits that flow from participation in the federal system,

7       including the rights and privileges provided by the U.S. Constitution and federal

8       law. A significant number of Washington residents live in cities with Crime Free

9       Rental Housing Programs (CFRHPs). In addition to Sunnyside, Tacoma,

10      Bellingham, Spokane, Pasco, Yakima, Prosser, Tukwila, Kent, Walla Walla,

11      University Place, Othello, and Port Orchard all currently have some form of

12      CFRHP. Other cities, such as Shelton and Moses Lake, are considering

13      implementing such a program. Since many Washington cities have CFRHPs, the

14      State has a compelling interest in protecting its residents – especially its most

15      vulnerable – from enforcement of these programs in ways that deprive residents

16      of their federal and state constitutional and statutory rights and adversely impact

17      their health and well-being.

18      2.3   Defendant is the City of Sunnyside, Washington, a municipal corporation,

19      with over 16,000 residents. Sunnyside operates the Sunnyside Police

20      Department. Sunnyside police officers are Sunnyside employees.

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1                              III.    PREREQUISITES TO SUIT

2       3.1   On or about May 13, 2019, the State served a claim for damages on

3       Sunnyside pursuant to Wash. Rev. Code § 4.96.020(2). More than 60 days have

4       lapsed since that filing.

5                            IV.      JURISDICTION AND VENUE

6       4.1   The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331 and

7       1343, which confer original jurisdiction upon this Court of any civil action

8       involving a federal question and to recover damages to secure equitable relief

9       under any Act of Congress providing for the protection of civil rights. This action

10      is authorized and instituted pursuant to 42 U.S.C. §§ 1983 and 3613.

11      4.2   This Court has supplemental jurisdiction over Washington’s state law

12      claims pursuant to 28 U.S.C. § 1367.

13      4.3   Venue is proper in this district because Defendant resides in Yakima

14      County, Washington, and all of the events that support Washington’s allegations

15      occurred there. 28 U.S.C. § 1391(b)(1) and (2).

16                                          V.      FACTS

17      5.1   In 2010, Sunnyside established and has continued to implement through

18      its police department a CFRHP. Sunnyside Municipal Code (SMC)

19      § 5.02.030(A). The stated intent of the CFRHP is to reduce crime in rental

20      housing through a partnership between police, residents, and landlords. Id.

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1       5.2   Sunnyside waives a required annual residential rental housing license fee

2       of between $100 and $750 for landlords who participate in the CFRHP, but

3       reimposes that fee plus ten percent and revokes the rental license if the landlord

4       fails to comply with the CFRHP. SMC §§ 5.02.020, .060.

5       5.3   Any landlord who receives two notices from the Sunnyside police of

6       criminal activity on any of the landlord’s rental properties must participate in the

7       CFRHP, unless the landlord makes a good faith effort to deter the criminal

8       activity. SMC § 5.02.040(A).

9       5.4   Sunnyside provides training for landlords and property managers who

10      participate in the CFRHP. SMC § 5.02.030(A)(1). The training covers rental

11      applications, rental agreements, resident screening, evictions, subsidized Section

12      8 housing (24 C.F.R. § 982), working with the police, criminal activity

13      identification, drug use in rental properties, gang activity identification, and

14      crime prevention through environmental design. SMC § 5.02.030(A)(1).

15      5.5   Sunnyside does not provide training on enforcing the CFRHP to any

16      Sunnyside employees, including its police officers, who enforce the CFRHP.

17      5.6   The CFRHP imposes duties on both landlords and Sunnyside police

18      officers. Under the program, a landlord or property manager must require

19      residents to sign a Crime Free Lease/Rental Agreement Addendum (Addendum).

20      SMC § 5.02.030(A)(3) provides a model Addendum. It lists crimes that constitute

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1       a material breach of the lease if permitted or committed by the resident on or near

2       the rental property.

3       5.7   If Sunnyside police determine that any resident, household member, guest,

4       or other person under the resident’s control has engaged in or permitted any of

5       the crimes listed in the Addendum on or near the premises, the CFRHP directs

6       Sunnyside police to issue a notice of noncompliance to the landlord.

7       SMC § 5.02.030(F).

8       5.8   Within five business days of receiving a notice of noncompliance, the

9       CFRHP directs a landlord to issue a notice to the resident to “comply or quit” the

10      premises “(if required by law) and pursue all remedies against the residents

11      available to the owner/licensee under the Residential Landlord-Resident Act of

12      1973 and the Manufactured/Mobile Home Landlord-Resident Act, as applicable,

13      and all other remedies provided by law to terminate the tenancy and evict the

14      residents.” Id.

15      5.9   The comply-or-quit notice must include: “1. The date and location of the

16      noncompliance; 2. The nature of the noncompliance; 3. The name of the person

17      or persons engaged in the noncompliance[;]” and 4. “[C]opies of any public

18      records of activities of noncompliance on or about the owner/licensee’s property

19      occupied by the residents.” Id.

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1       5.10 The CFRHP allows the landlord to appeal the notice of noncompliance in

2       a hearing before the Sunnyside Police Chief. Id. The ordinance provides no

3       appeal process for residents who are the subjects of a notice of noncompliance.

4       5.11 Participants in the CFRHP, including Sunnyside employees, must comply

5       with the Residential Landlord Tenant Act (RLTA). Wash. Rev. Code

6       § 59.18.230(1) (RLTA procedures must be followed and cannot be waived).

7       5.12 In Washington, the RLTA imposes certain duties upon residents in

8       addition to timely paying the rent. For example, residents may not permit

9       nuisance or waste upon the property or engage in or permit any drug- or gang-

10      related activity on or near the rental property. Wash. Rev. Code §

11      59.18.130(6), (9). A resident who violates a statutory duty may be evicted.

12      5.13 To evict a resident for violating a statutory duty, a landlord must follow

13      the procedures specified in the RLTA and the Unlawful Detainer Act (UDA),

14      Wash. Rev. Code chs. 59.18 and 59.12, respectively. Those procedures vary

15      depending on how the resident has failed to comply. For example, where the

16      resident has committed or permitted waste or a nuisance on the premises, the

17      landlord must first issue a three-day notice to quit. Wash. Rev. Code §

18      59.12.030(5). By contrast, no notice is required where the resident has engaged

19      in drug-related activity, criminal activity that results in the resident’s arrest, or

20      gang-related activity. Wash. Rev. Code § 59.18.180(3)-(5).

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1       5.14 If a resident continues to occupy the rental property after a three-day notice

2       to quit has expired or after engaging in criminal activity that results in the

3       resident’s arrest, for example, the resident is guilty of unlawful detainer. Wash.

4       Rev. Code §§ 59.12.030(4), (5), and (7).

5       5.15 The landlord may not then engage in self-help to remove the resident from

6       the property or ask law enforcement to do it. Rather, the landlord must commence

7       an unlawful detainer action in court to evict the resident.

8       5.16 If a court determines that possession of the property should be returned to

9       the landlord, it will issue a writ of restitution, which the sheriff shall serve on the

10      resident. Wash. Rev. Code §§ 59.12.090 and .100. The sheriff must wait at least

11      three days after service of the writ before executing it and returning possession

12      of the property to the landlord. Wash. Rev. Code § 59.12.100.

13      5.17 Sunnyside employees enforce the CFRHP in violation of the legal

14      requirements above.

15      5.18 In one incident, Sunnyside police evicted a Latina mother, a grandmother,

16      and seven children without a judicial eviction order. After the mother repeatedly

17      refused the landlord’s sexual advances, the landlord accused the mother and her

18      son of stealing, and called the Sunnyside police to evict the family. Without

19      providing any written notice, three officers came to the home and told the family

20      that they had two days to leave. The family complied, and as a result were

21      separated between the father’s home, a relative’s home, and a hotel. The family

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1       was unable to find replacement housing where they could live together for over

2       a year.

3       5.19 In a second incident, Sunnyside police evicted a pregnant Latina mother

4       with three children who had been living in low-income housing for seven months

5       without incident. A single fight occurred near the home, and although no charges

6       were pressed against the mother and no eviction proceedings were ever initiated,

7       the Sunnyside police ordered the mother to vacate the apartment in three days.

8       The family initially stayed in a hotel, then with the mother’s brother, and ended

9       up without a permanent home for over a year.

10      5.20 In a third incident, the Sunnyside police required a landlord to send a

11      couple a three-day notice to vacate after their home had been searched by

12      Sunnyside police pursuant to a search warrant. Three days after the eviction

13      notice was served, Sunnyside police came to the home and ordered the couple to

14      leave the property by midnight of that day, giving them approximately eight

15      hours to move out. No court eviction proceedings had been initiated. The police

16      ordered the couple to leave Sunnyside altogether, stating that the couple could

17      not relocate elsewhere in the city. The couple was homeless for more than a year.

18      5.21 Sunnyside has a policy or practice of enforcing the CFRHP against

19      residents without evidence that the residents engaged in criminal activity.

20      5.22 Sunnyside police reports concerning residents in CFRHP housing often

21      fail to state what crime is alleged to have occurred in or around the rental unit, if

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1       any, and whether the police enforced the CFRHP in those cases. Other police

2       reports reference domestic violence situations, but do not indicate the resolution.

3       5.23 Most of the Sunnyside residents unlawfully evicted have been Latino/as,

4       residents with children, and women.

5                           VI. FIRST CAUSE OF ACTION
        (42 U.S.C. § 1983 – Denial of Right to Procedural Due Process Under Color
6                                         of Law)
7       6.1     Washington incorporates the allegations set forth above as if fully set forth
8       here.
9       6.2     At all times relevant, Sunnyside acted under color of law.
10      6.3     Washington residents have a property interest in retaining possession of
11      their rented homes, which is protected by the Due Process Clause of the
12      Fourteenth Amendment.
13      6.4     Sunnyside’s policy or practice of having its police evict residents or
14      requiring landlords to evict residents where residents had no prior opportunity to
15      be heard, no one was arrested, no judicial eviction proceeding was initiated,
16      and/or no judicial eviction order was ever issued, deprives residents in CFRHP
17      housing of their property interest in their tenancies without due process of law.
18      6.5     Sunnyside is liable under 42 U.S.C. § 1983 when it deprives residents of
19      their constitutional right to due process.
20      6.6     As a proximate result of these unlawful acts, Washington and its residents
21      suffered and continue to suffer injury.
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1                              VII. SECOND CAUSE OF ACTION
               (42 U.S.C. § 1983 – Denial of Right to Substantive Due Process Under
2
                                           Color of Law)
3        7.1     Washington incorporates the allegations set forth above as if fully set forth
4        here.
5        7.2     At all times relevant, Sunnyside acted under color of law.
6        7.3     Under federal law, the right to family integrity is a fundamental right
7        protected by the Due Process Clause of the Fourteenth Amendment.
8        7.4     Sunnyside’s policy or practice of depriving residents of their right to
9        family integrity without sufficient government justification deprives residents of
10       their right to due process of law.
11       7.5     Sunnyside is liable under 42 U.S.C. § 1983 when it deprives residents of
12       their right to due process of law.
13       7.6     As a proximate result of these unlawful acts, Washington and its residents
14       suffered and continue to suffer injury.
15
                               VIII. THIRD CAUSE OF ACTION
16                         (42 U.S.C. § 3604 – Housing Discrimination)
17       8.1     Washington incorporates the allegations set forth above as if fully set forth

18       here.

19       8.2     Most of the unlawfully evicted residents have been Latino/as, families with

20       children, or women.

21       8.3     Sunnyside’s policy or practice of enforcing the CFRHP makes housing

22       unavailable and imposes different terms, conditions, and privileges in the rental

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1        of a dwelling because of national origin, familial status, and sex in violation of

2        42 U.S.C. § 3604(a)-(b).

3        8.4     As a proximate result of these unlawful acts, Washington and its residents

4        suffered and continue to suffer injury.

5                         IX. FOURTH CAUSE OF ACTION
          (Wash. Const. art. I, § 3 – Denial of Right to Due Process Under Color of
6                                            Law)
7        9.1     Washington incorporates the allegations set forth above as if fully set forth
8        here.
9        9.2     At all times relevant, Sunnyside acted under color of law.
10       9.3     Washington residents have a property interest in retaining possession of
11       their rented homes, which is protected by Wash. Const. art. I, § 3.
12       9.4     Sunnyside’s policy or practice of having its police evict residents or require
13       landlords to evict residents where residents had no prior opportunity to be heard,
14       no one was arrested, no judicial eviction proceeding was initiated, and/or no
15       judicial eviction order was ever issued, deprives residents in CFRHP housing of
16       their property interest in their tenancies without due process of law.
17       9.5     As a proximate result of these unlawful acts, Washington and its residents
18       suffered and continue to suffer injury.
19               //
20               //
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1                          X.    FIFTH CAUSE OF ACTION
         (Wash. Rev. Code §§ 49.60.030(1) and 49.60.222 – Housing Discrimination)
2

3        10.1 Washington incorporates the allegations set forth above as if fully set forth

4        here.

5        10.2 Most of the unlawfully evicted residents have been Latino/as, families with

6        children, or women.

7        10.3 Sunnyside’s policy or practice of enforcing the CFRHP violates residents’

8        rights to engage in real estate transactions without discrimination on the basis of

9        national origin, status as a family with children, and sex, in violation of Wash.

10       Rev. Code § 49.60.030(1)(c).

11       10.4 Sunnyside’s policy or practice of enforcing the CFRHP discriminates in

12       the terms and conditions of a real estate transaction, and makes unavailable or

13       denies a dwelling, because of national origin, status as a family with children,

14       and sex, in violation of Wash. Rev. Code § 49.60.222(1)(b), (f).

15       10.5 As a proximate result of these unlawful acts, Washington and its residents

16       suffered and continue to suffer injury.

17                         XI. SIXTH CAUSE OF ACTION
18       (Wash. Rev. Code § 59.18.290 – Evicting Residents without a Court Order)

19       11.1 Washington incorporates the allegations set forth above as if fully set forth

20       here.

21       11.2 Sunnyside’s policy or practice of enforcing the CFRHP by having police

22       officers evict residents or requiring landlords to evict residents where no judicial

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1        eviction proceeding was initiated or no judicial eviction order issued violates

2        Wash. Rev. Code § 59.18.290.

3        11.3 As a proximate result of these unlawful acts, Washington and its residents

4        suffered and continue to suffer injury.

5                       XII. SEVENTH CAUSE OF ACTION
         (Wash. Rev. Code § 59.18.580(2) – Evicting Residents Because They Were
6                    Victims of Domestic Violence or Sexual Assault)
7        12.1 Washington incorporates the allegations set forth above as if fully set forth
8        here.
9        12.2 Sunnyside’s policy or practice of enforcing the CFRHP by having police
10       officers evict residents or requiring landlords to evict residents who are victims
11       of domestic violence or sexual assault violates Wash. Rev. Code § 59.18.580(2).
12       12.3 As a proximate result of these unlawful acts, Washington and its residents
13       suffered and continue to suffer injury.
14                               XIII.    PRAYER FOR RELIEF
15       WHEREFORE, Plaintiff, State of Washington, prays that the Court:
16       13.1 Adjudge and decree that Sunnyside has engaged in the conduct complained
17       of in this complaint;
18       13.2 Adjudge and decree that Sunnyside’s policy and practice of enforcing the
19       CFRHP violates the Fourteenth Amendment to the U.S. Constitution;
20       13.3 Adjudge and decree that Sunnyside’s policy and practice of enforcing the
21       CFRHP violates Wash. Const. art. 1, § 3;
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1        13.4 Adjudge and decree that Sunnyside’s policy and practice of enforcing the

2        CFRHP violates the Fair Housing Act, 42 U.S.C. § 3604(a)-(b);

3        13.5 Adjudge and decree that Sunnyside’s policy and practice of enforcing the

4        CFRHP violates the Washington Law Against Discrimination, Wash. Rev.

5        Code §§ 49.60.030(1) and 49.60.222;

6        13.6 Adjudge and decree that the CFRHP and Sunnyside’s policy and practice

7        of enforcing the CFRHP violates the RLTA, Wash. Rev. Code §§ 59.18.290

8        and .580(2);

9        13.7 Permanently enjoin Sunnyside and its representatives, successors, assigns,

10       officers, agents, servants, employees, and all other persons acting or claiming to

11       act for, on behalf of, or in active concert or participation with Sunnyside, from

12       continuing or engaging in the unlawful conduct complained of in this complaint;

13       13.8 Award money damages and other make-whole relief in the amount to be

14       proven at trial;

15       13.9 Make such orders to provide that Sunnyside shall reimburse the State its

16       reasonable costs incurred in this action, including reasonable attorneys’ fees;

17       13.10 Award pre- and post-judgment interest at the maximum rate allowed by

18       law; and

19       13.11 Award such other and further relief as the Court deems just and proper.

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1             DATED this 30th day of July, 2019.

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                                               Respectfully Submitted,
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